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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 1:21-cv-21400


 DALADIER BURGOS,

                Plaintiff,

 vs.

 BELLSOUTH TELECOMMUNICATIONS LLC,

                Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff and Defendant, through undersigned counsel and pursuant to Fed. R. Civ. P.

 41(a)(1)(A)(ii), hereby agree to the dismissal of the above-captioned action, with prejudice, with

 each party responsible for their costs. The clerk will please mark this case as dismissed with

 prejudice. This matter has resolved.
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 Dated: April 14, 2022.

 Respectfully submitted,


  By:/s/ Dana M. Gallup                          By: /s/ Zahira D. Diaz-Vazquez

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